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1
                                                                 Judge Franklin D. Burgess
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6
                                  UNITED STATES DISTRICT COURT
7                                WESTERN DISTRICT OF WASHINGTON
                                           AT TACOMA
8

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10   UNITED STATES OF AMERICA,           )               NO. CR04-5516FDB
                                         )
11
                             Plaintiff,  )               ORDER GRANTING GOVERNMENT’S
12                                       )               MOTION TO CONDUCT THE
                       v.                )               DEPOSITION OF MICHAEL STEFFEN
13                                       )
     MICHAEL STEFFEN,                    )
14
                                         )
15                           Defendant.  )
     ___________________________________ )
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18           This matter having come before the Court on the Government’s Motion to Conduct the

19   Deposition of Michael Steffen, an inmate at the Federal Detention Center, Seatac, Washington, and
20
     having reviewed the Motion and the Order Granting Stipulated Motion to Conduct Discovery
21
     Pursuant to Rule 32.2(c)(1)(B) Re: Petition of William and Beverly Steffen and Setting Hearing Date
22
     on Petition, it is hereby
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24           ORDERED that the Government’s request for leave of court to conduct the

25   //
26
     //
27
     //
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     ORDER GRANTING GOVERNMENT’S MOTION
     TO CONDUCT THE DEPOSITION OF MICHAEL STEFFEN - 1                                  UNITED STATES ATTORNEY
                                                                                       700 STEWART STREET, SUITE 5220
     (CR04-5516FDB)
                                                                                      SEATTLE, WASHINGTON 98101-1271
                                                                                               (206) 553-7970
             Case 3:04-cr-05516-BHS        Document 114   Filed 06/06/05   Page 2 of 2



1    deposition of Michael Steffen is granted.




                                                 A
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             DATED this 6th      day of   June , 2005
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                                                 FRANKLIN D. BURGESS
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                                                 UNITED STATES DISTRICT JUDGE
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     Presented by:

9     s/Richard E. Cohen for
     PETER O. MUELLER
10   Assistant United States Attorney
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     ORDER GRANTING GOVERNMENT’S MOTION
     TO CONDUCT THE DEPOSITION OF MICHAEL STEFFEN - 2                         UNITED STATES ATTORNEY
                                                                              700 STEWART STREET, SUITE 5220
     (CR04-5516FDB)
                                                                             SEATTLE, WASHINGTON 98101-1271
                                                                                      (206) 553-7970
